295 F.2d 431
    Bennet F. SCHAUFFLER, Regional Director of the Fourth Region of the National Labor Relations Board, for and on Behalf of the NATIONAL LABOR RELATIONS BOARD,v.HOTEL, MOTEL &amp; CLUB EMPLOYEES' UNION, LOCAL 568, AFL-CIO, Appellant.
    No. 13580.
    United States Court of Appeals Third Circuit.
    Argued October 5, 1961.
    Decided October 24, 1961.
    
      Alan R. Howe, Philadelphia, Pa. (Edward Davis, Philadelphia, Pa., on the brief), for appellant.
      Winthrop A. Johns, Asst. Gen. Counsel, Washington, D. C. (Stuart Rothman, General Counsel, Dominick L. Manoli, Associate General Counsel, Walter A. Piczak, Attorney, National Labor Relations Board, on the brief), for appellee.
      Before GOODRICH, STALEY and SMITH, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from a temporary injunction against the appellant granted by the District Court for the Eastern District of Pennsylvania in a case involving picketing by the appellant union at a site where the Locust-Mid-City Club was constructing new facilities. The original injunction was modified later and no appeal has been taken from that modification. The facts on which the injunction was based have long since vanished because the complaining club has now moved to its new quarters. The Court raised, at the argument, the question whether the case was not moot. The appellant has supplied us with citations which it deems relevant to prove the contrary. We have examined these authorities and do not find them helpful. The Court is of the opinion there is no longer a case or controversy between the parties and the appeal is, therefore, to be dismissed as moot.
    
    